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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

 INTERSECTIONS, INC., et al.                    )
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )       Case No. 1:09-CV597 (LMB/TCB)
                                                )
 JOSEPH C. LOOMIS, et al.                       )
                                                )
                Defendants.                     )

                              DEFENDANTS’ TRIAL WITNESS LIST

        Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure and pursuant to the

 Court’s July 7, 2009 Order, Defendants Joseph C. Loomis and Jenni M. Loomis submit the

 following list of witnesses that may be called at trial. This witness list is exclusive of witnesses

 that may be called for rebuttal and/or impeachment purposes. Defendants further reserve the

 right to call any witness identified on the Plaintiffs’ witness list, who is not objected to by

 Defendants, as permitted by the Court.


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 Dated this 17th Day of December, 2009.




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                                    Respectfully Submitted,

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                                    By Counsel

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of December 2009, a true and correct copy of the

 foregoing Trial Witness List was filed and served using the Court’s CM/ECF system, which will

 then send a notice of electronic filing (NEF) to the following counsel of record for the Plaintiffs:

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         And I hereby certify that I will electronically mail the documents to the following non-
 filing users:

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